       Case 4:18-cv-06810-JST Document 19-1 Filed 11/14/18 Page 1 of 12




 1                                          EXHIBIT A
 2

 3

 4

 5

 6

 7
                                                                  The Honorable Jon S. Tigar
 8
                         UNITED STATES DISTRICT COURT
 9                     NORTHERN DISTRICT OF CALIFORNIA
10   East Bay Sanctuary Covenant; Al Otro               Case No. 3:18-cv-06810
     Lado; Innovation Law Lab; and Central
11   American Resource Center in Los                    BRIEF OF AMICUS CURIAE
     Angeles,                                           FOR THE STATE OF
12                                                      WASHINGTON,
                              Plaintiffs,               COMMONWEALTH OF
13                                                      MASSACHUSETTS, STATE OF
            v.                                          NEW YORK, AND STATE OF
14                                                      CALIFORNIA
     Donald J. Trump, President of the United
15   States, in his official capacity; Matthew
     G. Whitaker, Acting Attorney General, in
16   his official capacity; U.S. Department of
     Justice; James McHenry, Director of the
17   Executive Office for Immigration
     Review, in his official capacity; the
18   Executive Office for Immigration
     Review; Kirstjen M. Nielsen, Secretary of
19   Homeland Security, in her official
     capacity; U.S. Department of Homeland
20   Security; Lee Francis Cissna, Director of
     the U.S. Citizenship and Immigration
21   Services, in his official capacity; U.S.
     Citizenship and Immigration Services;
22   Kevin K. McAleenan, Commissioner of
     U.S. Customs and Border Protection, in
23   his official capacity; U.S. Customs and
     Border Protection; Ronald D. Vitiello,
24   Acting Director of Immigration and
     Customs Enforcement, in his official
25   capacity; Immigration and Customs
     Enforcement,
26                               Defendants.



                                               1
                                    BRIEF OF AMICUS CURIAE
                                     CASE NO. 3:18-CV-06810
           Case 4:18-cv-06810-JST Document 19-1 Filed 11/14/18 Page 2 of 12




 1                  I.      INTRODUCTION AND INTEREST OF AMICI CURIAE
 2
            The States of Washington, Massachusetts, New York, and California (the States)
 3
     respectfully submit this brief as amici curiae to address the need for emergency relief suspending
 4
     the Acting Attorney General and Secretary of Homeland Security’s Interim Final Rule: “Aliens
 5
     Subject to a Bar on Entry under Certain Presidential Proclamations; Procedures for Protection
 6

 7   Claims” (the Rule).1

 8          This is not the sort of rare circumstance that can excuse the Government’s failure to
 9   follow the APA’s foundational procedural requirements. If the States had been afforded an
10
     opportunity to comment on the effects of barring asylum claims for those who enter at the
11
     country’s southern border, they would have advised of the significant and deleterious impact of
12
     the Rule. Under an appropriate rulemaking process, the agencies would have been required to
13

14   consider how the Rule would further incentivize Customs and Border Protection (CBP) to turn

15   asylum seekers away at points of entry (a practice known as “metering”), exacerbate unnecessary

16   human suffering at our country’s doorstep, and cause asylum seekers with meritorious claims
17   prolonged harm resulting from being needlessly forced to wait at the border while their claims
18
     are processed. The agencies’ failure to utilize the standard APA process denied the States the
19
     right to submit their comments before the Rule – which enacts sweeping policy changes on an
20
     issue of national significance – went into effect.
21

22          The States have a strong interest in ensuring that federal agencies comply with the APA

23   and refrain from engaging in arbitrary and capricious decision-making, and that their public

24   policies in favor of open government, transparency, and the Rule of Law are vindicated. Further,
25

26          1
                Available at https://www.regulations.gov/document?D=EOIR_FRDOC_0001-0039.




                                                       2
                                            BRIEF OF AMICUS CURIAE
                                             CASE NO. 3:18-CV-06810
           Case 4:18-cv-06810-JST Document 19-1 Filed 11/14/18 Page 3 of 12




 1   the States invest their own resources to provide education, health care, and other services to
 2
     immigrant families – like all families that reside in our States – and will have a significant role
 3
     in assisting immigrants and their relatives in the United States who will suffer the trauma and
 4
     uncertainty that the Rule imposes. The States support the issuance of temporary relief to preserve
 5
     the status quo and prevent widespread harm while the validity of the agency action is adjudicated,
 6

 7   and such relief would clearly serve the public interest.

 8                                         II.     ARGUMENT

 9   A.      The Agencies Evaded Notice and Comment and Waiting Period Requirements,
             Denying States the Opportunity to Provide Input.
10
             The agencies’ failure to engage in notice and comment rulemaking as required by the
11
     APA deprived the States of their right to participate in the rulemaking process. “The notice and
12

13   comment requirements are designed to ensure public participation in rulemaking.” Paulsen v.

14   Daniels, 413 F.3d 999, 1004 (9th Cir. 2005) (ellipses and brackets removed). Public participation

15   ensures that “agency regulations are tested via exposure to diverse public comment”; that the
16
     process is “fair[] to affected parties”; and that affected parties have “an opportunity to develop
17
     evidence in the record to support their objections to the rule and thereby enhance the quality of
18
     judicial review.” Int’l Union, United Mine Workers of Am. v. Mine Safety & Health Admin., 407
19
     F.3d 1250, 1259 (D.C. Cir. 2005). “It is antithetical to the structure and purpose of the APA for
20

21   an agency to implement a rule first, then seek comment later.” United States v. Valverde, 628

22   F.3d 1159, 1164 (9th Cir. 2010) (quoting Paulsen, 413 F.3d at 1004). These procedural
23   requirements are so fundamental that if an agency improperly fails to follow them, its regulation
24
     must be invalidated. 5 U.S.C. § 706(2)(D) (courts “shall . . . hold unlawful and set aside” agency
25
     action taken “without observance of procedure required by law”).
26



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                                           BRIEF OF AMICUS CURIAE
                                            CASE NO. 3:18-CV-06810
           Case 4:18-cv-06810-JST Document 19-1 Filed 11/14/18 Page 4 of 12




 1          The agencies insist that this unilateral action is supported by “good cause,” and that
 2
     giving the States and the public an opportunity to comment on drastic changes to federal
 3
     immigration policy would be “impracticable” and “contrary to the public interest.” See Interim
 4
     Final Rule at 65 (citing 5 U.S.C. § 553(b)(B)). They also purport to make the rule effective
 5
     immediately, dispensing with the 30-day waiting period required by 5 U.S.C. 553(d), arguing
 6

 7   that “immediate implementation of this rule is essential to avoid creating an incentive for aliens

 8   to seek to cross the border.” 83 Fed. Reg. 55950. The Rule was issued without notice, in the
 9   absence of any emergency such as an imminent threat of a terrorist attack, an accident or natural
10
     disaster that imperils human life, or even a fiscal emergency. See Motion for TRO at 7–8. Thus,
11
     the government fails to overcome the “high bar” to invoke the good cause exception. Valverde,
12
     628 F.3d at 1164.
13

14          “The good cause exception is essentially an emergency procedure.” Id. at 1165 (quoting

15   Buschmann v. Schweiker, 676 F.2d 352, 357 (9th Cir. 1982)). Failing to follow notice and

16   comment procedures may be excused “only in those narrow circumstances” in which taking the
17   time to comply with the APA’s procedural requirements “would do real harm.” Id. at 1164–65.
18
     “[T]he good cause exception … authorizes departure from the APA’s requirements only when
19
     compliance would interfere with the agency’s ability to carry out its mission.” Cal-Almond, Inc.
20
     v. U.S. Dep't of Agric., 14 F.3d 429, 441 (9th Cir. 1993). It is to be “sparingly used in order to
21

22   promote public input into agency rulemaking,” Serv. Emps. Int'l Union, Local 102 v. County of

23   San Diego, 60 F.3d 1346, 1353 (9th Cir. 1994), lest it “carve the heart out of the statute.” Action

24   on Smoking and Health v. CAB, 713 F.2d 795, 800 (D.C. Cir 1983).
25

26



                                                     4
                                          BRIEF OF AMICUS CURIAE
                                           CASE NO. 3:18-CV-06810
            Case 4:18-cv-06810-JST Document 19-1 Filed 11/14/18 Page 5 of 12




 1            The government also invokes the “foreign affairs” exception to the APA’s procedural
 2
     requirements, 5 U.S.C. § 553(a)(1). 83 Fed. Reg. 55950. However, the Ninth Circuit rejected
 3
     this exception’s application to the kind of regulation at issue here, holding that: “The foreign
 4
     affairs exception would become distended if applied to [DHS] actions generally, even though
 5
     immigration matters typically implicate foreign affairs. For the exception to apply, the public
 6

 7   rulemaking provisions should provoke definitely undesirable international consequences.”

 8   Yassini v. Crosland, 618 F.2d 1356, 1363 n.4 (9th Cir. 1980) (internal citations omitted).
 9   Although foreign relations are briefly discussed in the Rule, see 83 Fed. Reg. 55950, the
10
     government’s focus is on the United States’ internal interests, not international relations.
11
              The States’ interests in governmental transparency are furthered by the opportunity to
12
     comment on proposed federal rulemaking. Moreover, as sovereigns responsible for the health,
13

14   safety, and welfare of millions of people within their respective borders, the States have unique

15   interests and perspectives to contribute on issues of national importance and widespread impact,

16   particularly when such policies will cause prospective residents of our States unnecessary,
17   substantial, and enduring harm. If the States had been provided with an opportunity to comment
18
     on the Rule before it was promulgated, they would have raised these issues before the Rule took
19
     effect.2 The agencies would have been required to consider those comments in crafting the final
20
     regulation, see 5 U.S.C. § 553(c), and may have made changes to the proposed rule in response,
21

22   as agencies often do. The record developed through the notice and comment process in turn

23

24
              2
25              For example, since March 2016, Washington State has offered more than 45 comment letters on
     anticipated or proposed actions by the Administration to delay, repeal or adopt federal regulations. Massachusetts
     has submitted dozens of comment letters on proposed regulatory changes, New York offered 45 comment letters,
26   and California has submitted 59 comment letters since February 2017.




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                                                BRIEF OF AMICUS CURIAE
                                                 CASE NO. 3:18-CV-06810
            Case 4:18-cv-06810-JST Document 19-1 Filed 11/14/18 Page 6 of 12




 1   would have aided the Court in its review of the action. United Mine Workers, 407 F.3d at 1259.
 2
     That is the way the process is supposed to work.
 3
     B.      The Interim Final Rule Will Exacerbate Inhumane Border Conditions.
 4
             Granting the temporary restraining order could prevent needless harm. On the other side
 5
     of the ledger, the federal government can assert little to no legally cognizable harm from entry
 6
     of the injunction. “[T]he government[] . . . cannot suffer harm from an injunction that merely
 7

 8   ends an unlawful practice or reads a statute as required to avoid constitutional concerns.”3 The

 9   balance of equities tips in favor of a TRO here.
10           In addition to obvious legal infirmities detailed in the Motion, the Rule raises several key
11
     practical and humanitarian concerns. Because the Rule requires people fleeing violence to
12
     present requests for asylum only at official U.S. ports of entry, it will increase pressure on border
13
     officers to turn away people who try to present themselves—a process known as “metering.”
14

15   Increasing metering will only exacerbate the inhumane border conditions migrants experience.

16           Even if metering does not occur, the Rule will increase asylum seekers’ wait times at the

17   border while their claims are being processed. During these long waits, children will not be
18   educated and families will not receive the basic health services that they would receive if they
19
     were to be released to live in the States.
20
             1.       Increasing Pressure on Ports of Entry Will Increase Metering.
21
             Along the southern border, CBP regularly prevents asylum seekers from requesting
22

23   protection at official U.S. ports of entry by turning away individuals before they can reach the

24
             3
                Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013) (citing Zepeda v. I.N.S., 753 F.2d 719, 727
25   (9th Cir. 1983)). See also NAACP v. Trump, 2018 U.S. Dist. LEXIS 139663, at *15 (D.D.C. Aug. 17, 2018)
     (finding lack of injury to federal government from order “simply correct[ing] the improper exercise of [DHS]
26   authority” in case relating to rescission of Deferred Action for Childhood Arrivals [“DACA”]).




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                                               BRIEF OF AMICUS CURIAE
                                                CASE NO. 3:18-CV-06810
           Case 4:18-cv-06810-JST Document 19-1 Filed 11/14/18 Page 7 of 12




 1   entry point. This is not an isolated practice, but a widespread policy intended to deter asylum
 2
     seekers from accessing ports of entry at the U.S.–Mexico border, a policy that the federal
 3
     government has repeatedly acknowledged over the past year.
 4
            In June 2018, the DHS Office of Inspector General (OIG) conducted unannounced site
 5
     visits to CBP and ICE facilities along the southern border.4 OIG’s report, issued in late
 6

 7   September, confirmed that “CBP was regulating the flow of asylum-seekers at ports of entry

 8   through ‘metering[.]’” Id. at 5. OIG described the process: “When metering, CBP officers stand
 9   at the international line out in the middle of the footbridges” and turn asylum-seekers away
10
     before they can cross onto U.S. soil, claiming that there is no space available. Id. at 6. CBP
11
     instructs officers to “inform individuals that the port is currently at capacity and that they will be
12
     permitted to enter once there is sufficient space and resources to process them.” Id. at 6.
13

14          In recent years, CBP has increasingly utilized metering tactics. In April and May 2018,

15   officials at the San Ysidro port of entry near San Diego, California denied entry to a large group

16   of asylum seekers and forced them to wait outside the U.S. gate for days, enduring cold, rain,
17   ants, and lice.5 CBP justified the denial of entry based on a lack of processing capacity, despite
18
     the fact that the agency had been anticipating the arrival of these 240 asylum seekers for weeks
19
     and regularly manages the daily crossing of 20,000 people at this port of entry. Id. Individuals
20
     seeking to cross were told by CBP that the US did not accept asylum claims at the border, or that
21

22   they needed to obtain appointments from Mexican officials before they could proceed. Id.

23
            4
24              OFFICE OF INSPECTOR GENERAL, SPECIAL REVIEW – INITIAL OBSERVATIONS REGARDING FAMILY
     SEPARATION ISSUES UNDER THE ZERO TOLERANCE POLICY (Sept. 27, 2018) at 1, available at
25   https://www.oig.dhs.gov/sites/default/files/assets/2018-10/OIG-18-84-Sep18.pdf.
              5
                JASON BOYD AND GREG CHEN, AMERICAN IMMIGRATION LAWYERS ASSOCIATION POLICY BRIEF: NEW
     BARRIERS AT THE BORDER IMPEDED DUE PROCESS AND ACCESS TO ASYLUM (June 1, 2018) at 3. Available at
26   https://www.aila.org/File/DownloadEmbeddedFile/76208.




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                                           BRIEF OF AMICUS CURIAE
                                            CASE NO. 3:18-CV-06810
           Case 4:18-cv-06810-JST Document 19-1 Filed 11/14/18 Page 8 of 12




 1          Legal representatives who accompanied immigrants wishing to present themselves to
 2
     CBP officers at ports of entry from 2017 to present have witnessed dozens of people—mostly
 3
     asylum seekers—being turned away repeatedly. Human Rights First documented over a hundred
 4
     instances where CBP refused to grant individuals and families access at numerous ports of entry.
 5
     BOYD AND CHEN, AMERICAN IMMIGRATION LAWYERS ASSOCIATION POLICY BRIEF at 3. Most of
 6

 7   these were families fleeing violence in their home country. Id.

 8          There is no doubt that metering has and continues to be a policy at ports of entry on the
 9   southern border. The OIG noted that CBP “has utilized [metering] at least as far back as 2016 to
10
     regulate the flow of individuals at ports of entry.” OIG, INITIAL OBSERVATIONS REGARDING
11
     FAMILY SEPARATION at 5-6. In May 2018, DHS Secretary Kirstjen Nielsen publicly admitted
12
     that it was DHS policy to meter migrants at the U.S.-Mexico border: “We are ‘metering’, which
13

14   means that if we don’t have the resources to let them [asylum-seekers] in on a particular day,

15   they are going to have to come back.” AMNESTY INTERNATIONAL REPORT, USA: ‘YOU DON’T

16   HAVE ANY RIGHTS HERE’ (2018) at 11.6 Commissioner Kevin McAleenan confirmed a few
17   weeks ago that CBP is preparing to “expand” metering, stating
18
            that if the Border Patrol sees a significant increase in asylum seekers, it will
19          expand metering to other border crossings — effectively blocking immigrants
            from entering. He said the agency already faced a “significant backlog” of asylum
20          seekers in Tijuana and delays at three to four other crossings daily.7
21          Unsurprisingly, metering puts enormous pressure on migrants to enter illegally, as
22
     persons fleeing violence are faced with indefinite waits at ports of entry. As OIG found, “DHS
23
     regulated the number of asylum-seekers entering the country through ports of entry at the same
24

25
            6
                Available at https://www.amnesty.org/download/Documents/AMR5191012018ENGLISH.PDF.
26          7
                http://www.latimes.com/nation/la-na-border-patrol-commissioner-20181026-story.html




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                                           BRIEF OF AMICUS CURIAE
                                            CASE NO. 3:18-CV-06810
            Case 4:18-cv-06810-JST Document 19-1 Filed 11/14/18 Page 9 of 12




 1   time it encouraged asylum-seekers to come to ports.” OIG, INITIAL OBSERVATIONS REGARDING
 2
     FAMILY SEPARATION at 1. OIG suggested that “limiting the volume of asylum-seekers entering
 3
     at ports of entry leads some aliens who would otherwise seek legal entry into the United States
 4
     to cross the border illegally.” Id. at 7. Indeed, interviews with a Border Patrol supervisor and
 5
     migrants confirmed that there is “an increase in illegal entries when aliens are metered at ports
 6

 7   of entry.” Id. at 7.

 8           2.          Metering Exacerbates Inhumane Border Conditions.
 9           Media reports show how families, some with small children, have been forced to sleep
10
     on the ground outside ports of entry for weeks as they waited for CBP to allow them to present
11
     themselves:
12
             Families from El Salvador, Guatemala and Honduras huddle together on the
13           ground near packages of donated diapers and cans of baby formula. Some have
14           endured this limbo for nearly two weeks, sleeping on the ground at night and
             trying to stay cool during the day as temperatures in this outpost in the Sonoran
15           Desert surpass 100 degrees.8

16   Other reports describe the unofficial bureaucracy that grew out of CBP border refusals at the San
17   Ysidro Port of Entry, where “metered” migrants live for weeks as they wait for CBP to allow
18
     them to seek asylum.9 Asylum seekers are left to camp out near the U.S.–Mexico border for “up
19
     to a month in more than two dozen temporary shelters in Tijuana.”
20
             Metering increases the wait at ports of entry for asylum seekers, many of whom are
21

22   women with children. Faced with days of additional delay at the border, and fearful of losing

23   their place in line, asylum seekers will be exposed to harsh weather conditions, lack of stable

24
             8
25                https://www.nytimes.com/2018/06/12/us/asylum-seekers-mexico-border.html
             9
                  http://www.latimes.com/local/california/la-me-asylum-seekers-notebook-holds-key-to-entry-20180705-
     story.html
26



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                                                BRIEF OF AMICUS CURIAE
                                                 CASE NO. 3:18-CV-06810
           Case 4:18-cv-06810-JST Document 19-1 Filed 11/14/18 Page 10 of 12




 1   shelter, and inadequate facilities.10 Just this week, freezing temperatures forced hundreds of
 2
     waiting migrants outside an El Paso port of entry to seek other shelter.11 Vulnerable adults and
 3
     children are exposed to greatly increased risks of crime, exploitation, and unsanitary conditions
 4
     as they languish at the border.12
 5
             During these periods, children do not go to school and families do not receive basic health
 6

 7   and social services that the States would otherwise provide. For these people, whatever trauma

 8   caused them to flee their home country will only be compounded. Ultimately, the States will
 9   bear the costs of the Rule, as asylum seekers who are accepted will settle in our jurisdictions
10
     having unnecessarily experienced more trauma due to the Rule. For example, in FY 2017, almost
11
     15,000 accompanied children (those arriving with their families) received positive credible fear
12
     determinations and were released from federal custody, many in the amicus States. See 83 Fed.
13

14   Reg. 45486, 45519 (Sept. 7, 2018). The prospective application of this illegal Rule will certainly

15   affect future State residents.

16                                            III.     CONCLUSION
17           The States support the issuance of temporary relief to preserve the status quo and prevent
18
     widespread harm while the validity of the agency action is being adjudicated, and they urge the
19
     Court to grant Plaintiffs’ Motion.
20

21

22

23
             10
24               See https://www.nytimes.com/2018/06/12/us/asylum-seekers-mexico-border.html (describing father
     and toddler forced to sleep “on cardboard pizza boxes in a squalid entryway to a bathroom at the border crossing”
25   as they wait for CBP to accept their asylum claim).
              11
                 See https://www.upi.com/Top_News/World-News/2018/11/13/Cold-weather-drives-migrants-camped-
     at-border-bridge-into-shelter/2751542145667/
26            12
                 See http://cmsny.org/publications/heyman-slack-asylum-poe/




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                                               BRIEF OF AMICUS CURIAE
                                                CASE NO. 3:18-CV-06810
     Case 4:18-cv-06810-JST Document 19-1 Filed 11/14/18 Page 11 of 12




 1

 2
      DATED this _____ day of November, 2018.
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                                        11
                              BRIEF OF AMICUS CURIAE
                               CASE NO. 3:18-CV-06810
     Case 4:18-cv-06810-JST Document 19-1 Filed 11/14/18 Page 12 of 12




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                            BRIEF OF AMICUS CURIAE
                             CASE NO. 3:18-CV-06810
